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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )                  Civil Action No. 1:23-cv-00853
                                          )
            v.                            )
                                          )
GREG ABBOTT, in his capacity as GOVERNOR )
OF THE STATE OF TEXAS, and THE STATE OF )
TEXAS,                                    )
                                          )
                  Defendants.             )
__________________________________________)

                                           COMPLAINT

       Plaintiff, the United States of America, through its undersigned counsel, by the authority of

the Attorney General of the United States, and at the request of the Secretary of the Army acting

through the United States Army Corps of Engineers (“Corps”), files this Complaint and alleges as

follows:

                                   NATURE OF THE ACTION

       1.       The United States brings this civil enforcement action under sections 12 and 17 of

the Rivers and Harbors Appropriation Act of 1899 (“RHA” or “Rivers and Harbors Act”), 33

U.S.C. §§ 406 and 413, against Defendants Greg Abbott, in his official capacity as Governor of the

State of Texas, and the State of Texas.

       2.       As alleged below, Defendants have built structures in the Rio Grande, a navigable

water of the United States, without the Corps’ authorization, in violation of RHA section 10, 33

U.S.C. § 403. These structures include a floating barrier and related infrastructure.



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       3.       As alleged below, Defendants’ structures also constitute an unauthorized

obstruction to the navigable capacity of waters of the United States in violation of RHA section 10,

33 U.S.C. § 403.

       4.       In this action, the United States seeks: (1) to enjoin the building of structures in

navigable waters and the obstruction to the navigable capacity of the waters of the United States in

violation of the RHA, 33 U.S.C. § 403; and (2) to require Defendants, at their own expense and

cost, to remove all structures and obstructions, including a floating barrier and all infrastructure

related to the floating barrier, in the Rio Grande.

                                   JURISDICTION AND VENUE

       5.      This Court has subject-matter jurisdiction pursuant to 33 U.S.C. § 406 and 28

U.S.C. §§ 1331, 1345 and 1355.

       6.      Venue is proper in the Western District of Texas, Del Rio Division, pursuant to 33

U.S.C. § 406 and 28 U.S.C. § 1391(b) and (c), because the unauthorized structures and

obstruction exist in the Rio Grande in the vicinity of Eagle Pass, Texas, which lies within this

District, and the events giving rise to the cause of action alleged below occurred in the Rio Grande

in the vicinity of Eagle Pass, Texas, which lies within this District.

       7.      Venue also is proper in the Western District of Texas, Austin Division, because

Austin is the state capital and Defendant Greg Abbott is located in Austin, the unauthorized

structures and obstruction exist in the Rio Grande in the vicinity of Eagle Pass, Texas, which lies

within this District, and the events giving rise to the cause of action alleged below occurred in the

Rio Grande in the vicinity of Eagle Pass, Texas, which lies within this District. The United States

is filing suit in the Western District of Texas, Austin Division, because it is the capital and where

a Defendant resides, and a related case is pending there. That case, Epi’s Canoe & Kayak Team,

LLC v. State of Texas, No. 1:23-cv-00836-DII, was removed to federal court by Governor Greg
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Abbott, the State of Texas, and state agencies and officials on July 21, 2023. The plaintiffs in

Epi’s Canoe claim that the floating barrier in the Rio Grande in the vicinity of Eagle Pass, Texas,

is unlawful and pray for, among other things, an injunction to restrain Governor Abbott, the State

of Texas, and the other state defendants from installing the floating barrier.

                                           THE PARTIES

       8.      Plaintiff is the United States of America. Authority to bring this action is vested in

the United States Department of Justice pursuant to 28 U.S.C. §§ 516 and 519 and 33 U.S.C. § 413.

       9.      Defendants are Greg Abbott, in his official capacity as Governor of the State of

Texas, and the State of Texas.

       10.     At all times relevant to the Complaint, Defendants caused and/or controlled the

placement and/or construction activities that occurred or are occurring in the Rio Grande and are

the subject of this complaint.

   RIVERS AND HARBORS ACT STATUTORY AND REGULATORY BACKGROUND

       11.     RHA section 10, 33 U.S.C. § 403, prohibits the “creation of any obstruction not

affirmatively authorized by Congress, to the navigable capacity of any of the waters of the United

States.” 33 U.S.C. § 403.

       12.     RHA section 10, 33 U.S.C. § 403, independently prohibits “build[ing] or

commenc[ing] the building of any wharf, pier, dolphin, boom, weir, breakwater, bulkhead, jetty, or

other structures in any port, roadstead, haven, harbor, canal, navigable river, or other water of the

United States, outside established harbor lines, or where no harbor lines have been established,

except on plans recommended by the Chief of Engineers and authorized by the Secretary of the

Army.”




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       13.     A Corps permit is required under RHA section 10, 33 U.S.C. § 403, for structures or

work in or affecting navigable waters of the United States. 33 C.F.R. § 322.3(a).

       14.     “Navigable waters of the United States are those waters that are subject to the ebb

and flow of the tide and/or are presently used, or have been used in the past, or may be susceptible

for use to transport interstate or foreign commerce. A determination of navigability, once made,

applies laterally over the entire surface of the waterbody, and is not extinguished by later actions or

events which impede or destroy navigable capacity.” 33 C.F.R. § 329.4.

       15.     A “structure” includes, but is not limited to, “any pier, boat dock, boat ramp, wharf,

dolphin, weir, boom, breakwater, bulkhead, revetment, riprap, jetty, artificial island, artificial reef,

permanent mooring structure, power transmission line, permanently moored floating vessel, piling,

aid to navigation, or any other obstacle or obstruction.” 33 C.F.R. § 322.2(b).

       16.     RHA section 12, 33 U.S.C. § 406, provides that “the removal of any structures or

parts of structures erected in violation of the provisions of [33 U.S.C. § 403 and other specified

statutory sections] may be enforced by the injunction of any district court exercising jurisdiction in

any district in which such structures may exist, and proper proceedings to this end may be instituted

under the direction of the Attorney General of the United States.”

                                    GENERAL ALLEGATIONS

       17.     The Rio Grande in the vicinity of Eagle Pass, Texas, is a navigable water of the

United States. See U.S. Army Corps of Engineers, Fort Worth District, Navigable Waters of the

United States in the Fort Worth, Albuquerque, and Tulsa Districts Within the State of Texas at p. 1

(Dec. 20, 2011), Attachment 11; U.S. Coast Guard, Memo from 8th District Commander re:



1
 This document also is publicly available at: www.swf.usace.army.mil/Portals/47/docs/
regulatory/NavList2011.pdf. As such, the Court may take judicial notice of it. See, e.g., Hawk
Aircargo, Inc. v. Chao, 418 F.3d 453, 457 (5th Cir. 2005).
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Navigability Determination (Oct. 19, 1984), Attachment 2; Decl. of Capt. Brandy Parker Regarding

Navigability Determination of the Rio Grande (July 24, 2023), Attachment 3.

       18.     Beginning on or before July 10, 2023, and continuing through at least July 17, 2023,

the Defendants, and/or persons acting on their behalf or at their direction, placed a floating barrier

in the Rio Grande approximately two miles south of the Camino Real International Bridge, Eagle

Pass, Texas (hereinafter the “Floating Barrier”). Declaration of Abraham Garcia ¶¶ 2-3 & Ex. 1-2

(July 24, 2023), Attachment 4. The Floating Barrier appears to include associated infrastructure

designed to anchor or fix it in place in the Rio Grande. Id. Ex. 1.

       19.     The Floating Barrier consists of a string of buoys each of which is between 4 and 6

feet in diameter. According to a June 8, 2023, press statement by Governor Abbott, this string of

buoys may stretch for at least 1,000 feet.2

       20.     Defendants do not have authorization from the Corps pursuant to 33 U.S.C. § 403 or

33 C.F.R. § 322.3 for the Floating Barrier or for any associated infrastructure.

       21.     Defendants did not seek authorization from the Corps prior to installing the Floating

Barrier.

       22.     Governor Abbott stated publicly on June 8, 2023, that Texas may seek to build

similar floating barriers within the Rio Grande along the United States-Mexico border in Texas in

addition to the one then contemplated, and now constructed, in the vicinity of Eagle Pass, Texas.3

       23.     Because Texas installed the Floating Barrier without seeking the Corps’

authorization, the Corps and other relevant federal agencies were deprived of the opportunity to

evaluate risks the barrier poses to public safety and the environment, mitigate those risks as

2
  See https://gov.texas.gov/news/post/governor-abbott-signs-sweeping-package-of-border-security-
legislation.
3
  See https://gov.texas.gov/news/post/governor-abbott-signs-sweeping-package-of-border-security-
legislation.
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necessary through the permitting process, and otherwise evaluate whether the project is in the

public interest.

          24.      Governor Abbott has stated publicly that the Floating Barrier is part of a broader

effort called “Operation Lone Star.”4 According to Governor Abbott, Operation Lone Star also

includes the placement of concertina wire near the U.S.-Mexico border.5 With respect to the

placement of concertina wire, Governor Abbott has stated: “We aren’t asking for permission.”6

          25.      On July 20, 2023, United States Assistant Attorney General Todd Kim and United

States Attorney Jaime Esparza wrote Governor Abbott and Texas Provisional Attorney General

Angela Colmenero, giving the Texas officials notice that the Floating Barrier violates federal law

and inviting the State in response to commit to expeditiously remove the Barrier and related

structures. On July 24, 2023, the Governor responded with a letter addressed to President Biden.

Attachment 5. The Governor’s letter acknowledges “the floating marine barriers we have deployed

in the Rio Grande River in Eagle Pass” and states that “Texas will see you in court, Mr. President.”

Id. at 1.

                     COUNT 1: VIOLATION OF THE RIVERS AND HARBORS ACT

          26.      The United States repeats the allegations set forth in Paragraphs 1 through 25 of this

Complaint.




4
 See https://gov.texas.gov/news/post/operation-lone-star-boosts-border-response-with-new-marine-
barriers.
5
    See id.
6
 See https://twitter.com/GregAbbott_TX/status/1638306917939380224?t=
BB0rNKcTgwyDn0j8qRiQKQ&s=19.
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       27.     The Floating Barrier, as constructed, installed, and placed by Defendants (and/or

persons acting on their behalf or at their direction) wholly or partially in navigable waters of the

United States, constitutes a “structure” within the meaning of RHA section 10, 33 U.S.C. § 403.

       28.     The Floating Barrier, as constructed, installed, and placed by Defendants (and/or

persons acting on their behalf or at their direction) wholly or partially in navigable waters of the

United States, constitutes a “structure,” as that term is defined in 33 C.F.R. § 322.2(b).

       29.     The Floating Barrier is an obstruction to the navigable capacity of the Rio Grande, a

navigable water of the United States.

       30.     The Floating Barrier required authorization under RHA section 10, 33 U.S.C. § 403,

and the Corps’ implementing regulations at 33 C.F.R. Part 322, including 33 C.F.R. § 322.3(a), for

its construction, installation, and placement in navigable waters of the United States.

       31.     Defendants did not obtain a Corps permit or otherwise obtain the Corps’ permission

for the construction, installation, or placement of the Floating Barrier in the Rio Grande as required

by RHA section 10, 33 U.S.C. § 403.

       32.     The unauthorized construction, installation, and placement of the Floating Barrier

structure in navigable waters of the United States violates RHA section 10, 33 U.S.C. § 403.

       33.     The Floating Barrier’s unauthorized obstruction to the navigable capacity of

navigable waters of the United States violates RHA section 10, 33 U.S.C. § 403.

       34.     Defendants have violated and continue to violate RHA section 10, 33 U.S.C. § 403,

by: (a) the construction, installation, and placement of the Floating Barrier in the Rio Grande

without a Corps permit; and (b) the creation of an unauthorized obstruction to the navigable

capacity of navigable waters of the United States.




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                                         PRAYER FOR RELIEF

       35.     WHEREFORE, Plaintiff, the United States of America, respectfully requests that

this Court order the following relief:

               a.       Enjoin Defendants from further constructing, installing, placing, or

maintaining structures in waters of the United States, except in compliance with the RHA and all

other applicable law;

               b.       Enjoin Defendants from creating or maintaining obstructions in or affecting

the navigable waters of the United States, except in compliance with the RHA and all other

applicable law;

               c.       Compel Defendants to promptly remove the Floating Barrier and any related

unauthorized structures from waters of the United States pursuant to the RHA, 33 U.S.C. § 401 et

seq., and in accordance with all other requirements of law and consultation with the relevant

authorities, including the Corps;

               d.       Compel Defendants to promptly remove the unauthorized obstruction to the

navigable capacity of navigable waters of the United States pursuant to the RHA 33 U.S.C. § 401 et

seq., and in accordance with all other requirements of law and consultation with the relevant

authorities, including the Corps;

               e.       Award the United States its costs and disbursements; and

               f.       Grant such other relief as the Court may deem just and proper.

                                                        Respectfully submitted,

                                                        TODD KIM
                                                        ASSISTANT ATTORNEY GENERAL
                                                        Environment & Natural Resources Division

       Dated: July 24, 2023                   By:       __________________________
                                                        BRIAN H. LYNK, D.C. Bar. No. 459525
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